Case 0:17-cv-60426-UU Document 91-2 Entered on FLSD Docket 11/13/2017 Page 1 of 2




                             IN THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                     Case No.: 17-cv-60426-UU


  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.

        Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

    Defendants.
  ____________________________________/



                           SECOND DECLARATION OF KEN BENSINGER


            I, Ken Bensinger, declare as follows:

            1.        I am a Senior Investigative Reporter at BuzzFeed News, where I have worked

  since 2014. I submit this second declaration in response to Plaintiffs’ motion seeking to compel

  Defendants to disclose the identity of the confidential source (the “Source”) who provided

  Defendants access to the so-called dossier published by BuzzFeed on January 10, 2017 (the

  “Dossier”). I am familiar with the facts herein and make this declaration from my own personal

  knowledge.

            2.        Document number 1 in BuzzFeed’s privilege log of withheld documents is a

  screengrab of a text message exchange between my brother, Greg Bensinger, and me.

            3.        A redacted copy of the document has now been produced to Plaintiffs as

  production number BuzzFeed_007875. The redaction covers a draft of a text message that I

  typed to my brother that contains some information obtained from a confidential source (though
Case 0:17-cv-60426-UU Document 91-2 Entered on FLSD Docket 11/13/2017 Page 2 of 2




  not that source’s name). This is a different person than the one from whom I received the

  Dossier. As is easily seen from the document produced (which says “sending failed”), I did not

  successfully send the message to my brother.

         4.     In any event, the redaction does not contain the name of the Source, or any

  information that could identify him or her. I never told my brother the name of the Source.

         5.     I declare under penalty of perjury that the foregoing is true and correct.


  Dated: November 10, 2017



                                                              ____________________
                                                              Ken Bensinger




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